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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION


NETLIST, INC.                                     )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )
                                                  )     Civil Action No. 2:22-cv-00293
SAMSUNG ELECTRONICS CO., LTD.,                    )
SAMSUNG ELECTRONICS AMERICA,                      )     JURY TRIAL DEMANDED
INC., SAMSUNG SEMICONDUCTOR,                      )
INC.                                              )
                                                  )
                Defendants.                       )
                                                  )
                                                  )
                                                  )
                                                  )
                                                  )
                                 FIRST AMENDED COMPLAINT


         1.      Plaintiff Netlist, Inc. (“Netlist”), by its undersigned counsel, for its First Amended

 Complaint against defendants Samsung Electronics Co., Ltd. (“SEC”), Samsung Electronics

 America, Inc. (“SEA”), and Samsung Semiconductor, Inc. (“SSI”) (collectively, “Samsung” or

 “Defendants”), states as follows, with knowledge as to its own acts, and on information and belief

 as to the acts of others:

         2.      This action involves Netlist’s U.S. Patent Nos. 7,619,912 (the “’912 patent,”

 Exhibit 1), 11,093,417 (the “’417 patent,” Exhibit 2), and 9,858,215 (the “’215 patent,” Exhibit 3),

 and (the “Patents-in-Suit”).
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 I.       THE PARTIES

          3.    Plaintiff Netlist is a corporation organized and existing under the laws of the State

 of Delaware, having a principal place of business at 111 Academy Drive, Suite 100, Irvine, CA

 92617.

          4.    On information and belief, SEC is a corporation organized and existing under the

 laws of the Republic of Korea, with its principal place of business at 129 Samsung-ro, Yeongtong-

 gu, Suwon, Gyeonggi, 16677, Republic of Korea.           On information and belief, SEC is the

 worldwide parent corporation for SEA and SSI, and is responsible for the infringing activities

 identified in this First Amended Complaint. On information and belief, SEC’s Device Solutions

 division is involved in the design, manufacture, use, offering for sale and/or sales of certain

 semiconductor products, including the Accused Instrumentalities as defined below.               On

 information and belief, SEC is also involved in the design, manufacture, and provision of products

 sold by SEA.

          5.    On information and belief, SEA is a corporation organized and existing under the

 laws of the State of New York. On information and belief, SEA, collectively with SEC, operates

 the Device Solutions division, which is involved in the design, manufacture, use, offering for sale

 and/or sales of certain semiconductor products, including the Accused Instrumentalities as defined

 below. Defendant SEA maintains facilities at 6625 Excellence Way, Plano, Texas 75023. SEA

 may be served with process through its registered agent for service in Texas: CT Corporation

 System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136. SEA is a wholly owned

 subsidiary of SEC.

          6.    On information and belief, SSI is a corporation organized and existing under the

 laws of the State of California. On information and belief, SSI, collectively with SEC, operates

 the Device Solutions division, which is involved in the design, manufacture, use, offering for sale



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 and/or sales of certain semiconductor products, including the Accused Instrumentalities as defined

 below. On information and belief, Defendant SSI maintains facilities at 6625 Excellence Way,

 Plano, Texas 75023. Defendant SSI may be served with process through its registered agent

 National Registered Agents, Inc., 1999 Bryan St., Ste. 900, Dallas, TX 75201-3136.               On

 information and belief, SSI is a wholly owned subsidiary of SEA.

           7.    On information and belief, Defendants have used, sold, or offered to sell products

 and services, including the Accused Instrumentalities, in this judicial district.

 II.       JURISDICTION AND VENUE

           8.    Subject matter jurisdiction is based on 28 U.S.C. § 1338, in that this action arises

 under federal statute, the patent laws of the United States. 35 U.S.C. §§ 1, et seq.

           9.    Each Defendant is subject to this Court’s personal jurisdiction consistent with the

 principles of due process and the Texas Long Arm Statute. Tex. Civ. Prac. & Rem. Code §§ 17.041,

 et seq.

           10.   Personal jurisdiction exists over the Defendants because each Defendant has

 sufficient minimum contacts and/or has engaged in continuous and systematic activities in the

 forum as a result of business conducted within the State of Texas and the Eastern District of Texas.

 Personal jurisdiction also exists over each Defendant because each, directly or through subsidiaries,

 makes, uses, sells, offers for sale, imports, advertises, makes available, and/or markets products

 within the State of Texas and the Eastern District of Texas that infringe one or more claims of the

 Patents-in-Suit. Further, on information and belief, Defendants have placed or contributed to

 placing infringing products into the stream of commerce knowing or understanding that such

 products would be sold and used in the United States, including in this District.

           11.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and (c) and/or

 1400(b). For example, SEC maintains a regular and established place of business in this judicial



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 district at 6625 Excellence Way, Plano, Texas 75023, and has committed acts of infringement in

 this judicial district. As another example, SEA maintains a regular and established place of

 business in this judicial district at 6625 Excellence Way, Plano, Texas 75023, and has committed

 acts of infringement in this judicial district. Venue is also proper for SSI because it maintains a

 regular and established place of business in this judicial district at 6625 Excellence Way, Plano,

 Texas 75023, and has committed acts of infringement in this judicial district.

        12.     Defendants have not contested proper venue in this District. See, e.g., Answer at ¶

 12, Emergent Mobile LLC v. Samsung Elecs. Co., Ltd., No. 2:22-cv-107, Dkt. 12 (E.D. Tex. Aug.

 3, 2022); Answer at ¶ 10, Arbor Global Strategies LLC v. Samsung Elecs. Co., Ltd., No. 2:19-cv-

 333, Dkt. 43 (E.D. Tex. Apr. 27, 2020); Answer at ¶ 29, Acorn Semi, LLC v. Samsung Elecs. Co.,

 Ltd., No. 2:19-cv-347, Dkt. 14 (E.D. Tex. Feb. 12, 2020).

 III.   FACTUAL ALLEGATIONS

                                           Background

        13.     Since its founding in 2000, Netlist has been a leading innovator in high-

 performance memory module technologies. Netlist designs and manufactures a wide variety of

 high-performance products for the cloud computing, virtualization and high-performance

 computing markets. Netlist’s technology enables users to derive useful information from vast

 amounts of data in a shorter period of time. These capabilities will become increasingly valuable

 as the volume of data continues to dramatically increase.

        14.     The technologies disclosed and claimed in the Patents-in-Suit relate generally to

 memory modules. In many commercial products, a memory module is a printed circuit board that

 contains, among other components, a plurality of individual memory devices (such as DRAMs).

 The memory devices are typically arranged in “ranks,” which are accessible by a processor or




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 memory controller of the host system. A memory module is typically installed into a memory slot

 on a computer motherboard and serve as memory for computer systems.

        15.     Memory modules are designed for various purposes, including use in server

 computers supporting cloud-based computing and other data-intensive applications. The structure,

 function, and operation of memory modules are often defined, specified, and standardized by the

 JEDEC Solid State Technology Association (“JEDEC”), a standard-setting body for the

 microelectronics industry. Memory modules are typically characterized by the generation of

 DRAM on the module (e.g., DDR4, DDR3) and the type of module (e.g., RDIMM, LRDIMM).

        16.     Dual in-line memory modules (“DIMMs”) are a type of memory module which

 generally includes SDRAMs mounted in a printed circuit board with other components, e.g., serial

 presence detect (“SPD”) and Hub with thermal sensors.

        17.     The load-reduced dual in-line memory modules (“LRDIMMs”) and registered

 DIMMs (“RDIMMs”) are types of memory modules that generally include SDRAMs mounted on

 a printed circuit board. RDIMMs and LRDIMMs typically also include an RCD for transmitting

 control and address signals to the SDRAMs, and LRDIMMs typically also include data buffers

 between the host controller and memory devices.

        18.     Netlist designs and manufactures a wide variety of high-performance products for

 the cloud computing, virtualization, and high-performance computing markets.              Netlist’s

 technology enables users to derive useful information from vast amounts of data in a shorter period

 of time. These capabilities will become increasingly valuable as the volume of data continues to

 dramatically increase.

        19.     Netlist has a long history of being the first to market with disruptive new products

 such as the first LRDIMM, HyperCloud®, based on Netlist’s distributed buffer architecture.

 Netlist’s—and the industry’s—first LRDIMM product demonstrated what was previously thought



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 to be impossible: that a server could be fully loaded with memory and still operate at the highest

 system speeds available at the time.       Netlist’s innovative products built on Netlist’s early

 pioneering work in areas such as embedding passives into printed circuit boards to free up board

 real estate, doubling densities via quad-rank double data rate (DDR) technology, and other off-

 chip technology advances that result in improved performance and lower costs compared to

 conventional memory.

                                      The Asserted ’912 Patent

        20.        The ’912 patent is entitled “Memory Module Decoder.” Netlist owns the ’912

 patent by assignment from the listed inventors Jayesh R. Bhakta and Jeffrey C. Solomon. The ’912

 patent was filed as Application No. 11/862,931 on September 27, 2007, issued as a patent on

 November 17, 2009, and claims priority to three provisional applications: Nos. 60/588,244 filed

 on July 15, 2004 60/550,668 filed on March 5, 2004, and 60/575,595 filed on May 28, 2004.

 The ’912 patent also claims priority to application, filed July 1, 2005, now U.S. Patent No.

 7,289,386, which is a continuation-in-part of application No. 11/075,395, filed March 7, 2005,

 now U.S. Patent No. 7,286,436.

        21.        Samsung had knowledge of the ’912 patent no later than July 6, 2021, when it

 received a request for indemnification from Google LLC (“Google”) in connection with Netlist’s

 assertion of the ’912 patent against Google in Netlist, Inc. v. Google LLC, No. 3:09-cv-05718 (N.D.

 Cal.). Samsung Elec. Co. Ltd. et. al. v. Netlist, Inc., No. 21-cv-1453-RGA, Dkt. 14, ¶ 43 (D. Del.

 Jan. 18, 2022).

        22.        The ’912 patent relates to memory module technology, and more specifically, to a

 concept called rank multiplication. A memory module is a device that contains individual memory

 devices arranged in “ranks” on a printed circuit board. At the time of the invention, most computer




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 systems supported accessing only one or two ranks, limiting the number of ranks that can be added

 per memory module. Exhibit 1, 1:20-2:42.

        23.     The ’912 patent teaches that one way to upgrade the memory capacity of a memory

 module is to use on-module logic to present a memory module with, e.g., 2n physical ranks of

 memory devices, as a module with n (virtual) ranks to the computer system. Id., 6:64-7:19. In

 this way, “even though the memory module 10 actually has the first number of [physical] ranks of

 memory devices 30, the memory module 10 simulates a virtual memory module by operating as

 having the second number of [logical or virtual] ranks of memory devices 30.” Id., 7:9-13. This

 technique is commonly referred to as “rank multiplication.”

        24.     Rank multiplication allows a designer to expand the number of ranks and hence the

 total memory capacity on a memory module. It also enables them to construct a memory module

 of a given capacity using lower density memory devices that often cost less. Id., 4:42-58, 22:5-14.

 For example, for the same 1 GB memory capacity, it could be more cost-effective to use thirty-six

 256-Mb DRAMs arranged in 4 ranks than eighteen 512-Mb DRAMs arranged in two ranks. Id.,

 4:42-58, 4:59-5:5.

        25.     Figure 1A illustrates an example of a memory module with rank multiplication

 capability. The memory module has a register 60 and a logic element 40.




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        26.     The logic element receives a set of input control signals from the computer system

 that include chip-select signals CS0-CS1, address signal An+ 1, and bank address signals BA0-BAm.

 Id., 7:35-53; Fig. 1A. From the computer system’s perspective, it is connected to only two ranks

 of memory devices, to be selected by CS0 or CS1, even though the memory devices are arranged

 in four physical ranks. Id., 6:55-7:19. In response to the received input control signals, the logic

 element on the memory module generates a set of output control signals, corresponding to the four

 physical ranks of the memory devices. Id., 6:61-63. The logic element 40 also receives command

 signals (such as read/write) from the computer system. Id., 6:55-61, 7:46-53. In response to the

 command signal and the input signals, the logic element transmits the command signal to the

 memory devices on the selected rank of the memory module. Id. In some embodiments, command

 signals are transmitted to only a single memory device on a multi-device rank at a time.

        27.     In 2009, Netlist served a complaint alleging infringement of the ’912 patent on

 Google and Inphi in separate proceedings in the Northern District and Central District of California,

 respectively. In 2010, Google, Inphi, and a third entity—Smart Modular Technologies (“SM”)—


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 sought inter partes reexamination of the ’912 patent. SM was not accused of infringement by

 Netlist; but it is a long-time memory development partner with Samsung. The PTO ordered

 reexamination and merged the three proceedings. The consolidated proceeding examined every

 single claim of the ’912 patent, including claim 16. Over the course of the reexamination, the

 Patent Trial and Appeal Board twice affirmed the validity of claim 16, and the Federal Circuit

 summarily affirmed the Board.

                                     The Asserted ’417 Patent

        28.     The ’417 patent is entitled “Memory Module With Data Buffering.” Netlist owns

 the ’417 patent by assignment from the listed inventors Jayesh R. Bhakta and Jeffrey C. Solomon.

 The ’417 patent was filed as Application No. 16/695,020 on November 25, 2019, issued as a patent

 on August 17, 2021, and claims priority to five provisional applications: Nos. 60/645,087, filed on

 January 19, 2005, 60/590,038, filed on July 21, 2004, 60/588,244 filed on July 15, 2004,

 60/550,668 filed on March 5, 2004, and 60/575,595 filed on May 28, 2004.

        29.     Samsung had knowledge of the ’417 patent via notice of U.S. Patent Application

 No. 16/695,020 on August 2, 2021 through Samsung’s access to Netlist’s patent portfolio docket.

 Samsung has also gained knowledge of the ’417 patent via this First Amended Complaint.

        30.     The ’417 patent relates to a memory module operable to communicate data with a

 memory controller via a N-bit wide memory bus, where the memory module includes memory

 devices arranged in a plurality of N-bit wide ranks, with logic that is configurable to receive a set

 of input address and control signals associated with a read or write memory command and output

 registered address and control signals and data buffer control signals. As summarized in the

 Abstract, the memory module further includes circuitry coupled between the memory bus and

 corresponding data pins of memory devices in each of the plurality of N-bit wide ranks, where the

 circuitry is configurable to “enable registered transfers of N-bit wide data signals associated with



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 the memory read or write command between the N-bit wide memory bus and the memory devices

 in response to the data buffer control signals and in accordance with an overall CAS latency of the

 memory module, which is greater than an actual operational CAS latency of the memory devices.”

                                      The Asserted ’215 Patent

        31.     The ’215 patent is entitled “Memory Module With Data Buffering.” Netlist owns

 the ’215 patent by assignment from the listed inventors Jayesh R. Bhakta and Jeffrey C. Solomon.

 The ’215 patent was filed as Application No. 14/715,486 on May 18, 2015, issued as a patent on

 January 2, 2018, and claims priority to five provisional applications: Nos. 60/645,087, filed on

 January 19, 2005, 60/590,038, filed on July 21, 2004, 60/588,244 filed on July 15, 2004,

 60/550,668 filed on March 5, 2004, and 60/575,595 filed on May 28, 2004.

        32.     Samsung had knowledge of the ’215 patent no later than August 2, 2021 via its

 access to Netlist’s patent portfolio docket. Samsung has also gained knowledge of the ’215 patent

 via this First Amended Complaint.

        33.     The ’215 patent relates to a memory module that is operable to communicate data

 with a memory controller via a memory bus in response to memory commands received from the

 memory controller. The memory module includes a plurality of memory integrated circuits

 arranged in ranks, at least one first memory integrated circuit in a first rank and at least one second

 memory integrated circuit in a second rank, and a buffer coupled between the at least one first

 memory integrated circuit and the memory bus and between the at least one second memory

 integrated circuit and the memory bus. As summarized in the Abstract, the “memory module

 further comprises logic providing first control signals to the buffer to enable communication of a

 first data burst between the memory controller and the at least one first memory integrated circuit

 through the buffer in response to a first memory command, and providing second control signals

 to the buffer to enable communication of a second data burst between the at least one second



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 memory integrated circuit and the memory bus through the buffer in response to a second memory

 command.”

                                  Samsung’s Infringing Activities

        34.     Samsung is responsible for making, using, selling, offering to sell, and/or importing,

 without authority, infringing DDR4 LRDIMMs and RDIMMs and other products that have

 materially the same structures and designs in relevant part. Collectively, these are the “Accused

 Instrumentalities.”

 IV.    FIRST CLAIM FOR RELIEF – ’912 PATENT1

        35.      Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this First Amended Complaint as if fully set forth herein.

        36.     On information and belief, Samsung directly infringed and is currently infringing

 at least one claim of the ’912 patent by, among other things, making, using, selling, offering to sell,

 and/or importing within this District and elsewhere in the United States, without authority, the

 accused DDR4 LRDIMMs and DDR4 RDIMMs and other products with materially the same

 structures in relevant parts. For example, and as shown in Exhibit 5, the accused DDR4 LRDIMMs

 and DDR4 RDIMMs and other products with materially the same structures in relevant parts

 infringe at least claim 16 of the ’912 patent. An exemplary claim chart comparing claim 16 of

 the ’912 patent to exemplary Accused DDR4 LRDIMMs and RDIMMs products is attached as

 Exhibit 5.




        1
          The claims asserted, and the theories set forth herein are based on Netlist’s present
 understanding of Samsung’s Accused Instrumentalities. Netlist reserves the right to supplement
 or amend these contentions as permitted by the Local Rules and any Orders of the Court as
 discovery progresses. Further, these contentions contain images and examples illustrating Netlist’s
 infringement theories. As such, the images and examples are not intended, and should not be read,
 as narrowing or limiting the scope of these contentions.


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 V.        SECOND CLAIM FOR RELIEF – ’417 PATENT

           37.   Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this First Amended Complaint as if fully set forth herein.

           38.   On information and belief, Defendants directly infringed and are currently

 infringing at least one claim of the ’417 patent by, among other things, making, using, selling,

 offering to sell, and/or importing within this District and elsewhere in the United States, without

 authority, the accused DDR4 LRDIMMs and other products with materially the same structures in

 relevant parts. For example and as shown below, the accused DDR4 LRDIMMs and other

 products with materially the same structures in relevant parts infringe at least claim 1 of the ’417

 patent.

           39.   For example, to the extent the preamble is limiting, each of the accused DDR4

 LRDIMMs comprise a memory module operable in a computer system to communicate data with

 a memory controller of the computer system via a N-bit wide data bus in response to memory

 commands (e.g., read or write) received from the memory controller.




 (Depiction of an exemplary Samsung DDR4 LRDIMM advertised on its website, available at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/ (last accessed

 August 13, 2022)).




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 See also, e.g.,




 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 10;




 Id. at 6;



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 Id. at 11-12.

        40.      As shown above and below, the memory bus includes address (e.g., “A[17:0]”) and

 control signal lines (e.g., “CS[3:0]_n”) and data signal lines (e.g., “DQ”) connected via pins on

 the edge connection to the DIMM.




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 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 10.




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        41.     The accused DDR4 LRDIMMs each comprise a printed circuit board (“PCB”)

 having a plurality of edge connections configured to be electrically coupled to a corresponding

 plurality of contacts of a module slot of the computer system, with logic (e.g., DDR4 registering

 clock driver, or “RCD”) coupled to the PCB.




 (Annotated depiction of exemplary Samsung DDR4 LRDIMM advertised on its website, available

 at https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/ (last accessed

 August 13, 2022)). See also, Exhibit 4 (Samsung Module Handling Guide depicting plurality of

 edge connections configured to be electrically coupled to a corresponding plurality of contacts of

 a module slot of the computer system):




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 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 40.

        42.     As shown below, the logic in each of the accused DDR4 LRDIMMs is configurable

 to receive a set of input address and control signals associated with a read or write memory

 command via the address and control signal lines and to output a set of registered address and

 control signals in response to the set of input address and control signals. The set of input address

 and control signals includes a plurality of input chip select signals and other input address and

 control signals. The plurality of input chip select signals include one chip select signal having an

 active signal value and one or more other input chip select signals each having a non-active signal

 value. The logic receives the chip select signals with one active value and one or more chip selects

 with a non-active value and outputs corresponding registered chip selects. As shown below, the

 set of registered address and control signals output by the logic include a plurality of registered

 chip select signals corresponding to respective ones of the plurality of input chip select signals and

 other registered address and control signals corresponding to respective ones of the other input

 address and control signals. The plurality of registered chip select signals include one registered

 chip select signal having an active signal value and one or more other registered chip select signals

 each having a non-active signal value.


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 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 10.




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 Id. at 7 (input/output functional description for Samsung DDR4 LRDIMMs, including input

 address and control signals associated with a read or write memory command); see also, e.g.,

 JEDEC DDR4 SDRAM Standard 79-4C (Exhibit 8), at 29 (Command Truth Table providing input

 address and control signals associated with memory commands).


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 See also, e.g., JEDEC 82-31A RCD Standard (Exhibit 9), at 2-3 (detailing the three basic modes

 of operation of the DDR4 RCD; as explained in the JEDEC 82-31A RCD Standard, commands

 may be sent to a single rank, that is, one chip select has an active value, indicating that the selected

 rank is active, while the other one or more chip select signals have a non-active signal value):




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 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 11-12.

         43.     The logic is further configurable to output data buffer control signals (e.g.,

 BCOM[3:0]=1001 or BCOM[3:0]=1000) in response to the read or write memory command, e.g.,

 via the data buffer control bus BCOM[3:0] bus. See, e.g., JEDEC 82-32A Data Buffer Standard

 (Exhibit 7), at 3-4:




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        44.     The accused DDR4 LRDIMMs further comprise memory devices (e.g., SDRAMs

 D1-D36 below) mounted on the PCB and arranged in a plurality of N-bit wide ranks (e.g., four

 ranks depicted below), which correspond to respective ones of the plurality of registered chip select




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 signals such that each of the plurality of registered chip select signals is received by memory

 devices on respective N-bit wide ranks.




 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 11-12.




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 Id. at 40. See also, e.g., JEDEC DDR4 SDRAM Standard 79-4C (Exhibit 8), at 105, 122 (examples

 of read/write burst operations):




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        45.    The accused DDR4 LRDIMMs each include circuitry (e.g., DDR4 data buffers)

 coupled between the data signal lines in the N-bit wide memory bus and corresponding data pins

 of memory devices in each of the plurality of N-bit wide ranks.




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 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 11-12.




 JEDEC 82-32A Data Buffer Standard (Exhibit 7), at 95 (exemplary logic diagram of DDR4 data

 buffer circuitry).


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         46.     In each of the accused DDR4 LRDIMMs, the circuitry (e.g., DDR4 data buffer) is

 configurable to transfer the burst of N-bit wide data signals between the N-bit wide memory bus

 and the memory devices in the one of the plurality of N-bit wide ranks in response to the data

 buffer control signals (e.g., BCOM[3:0]=1001 or BCOM[3:0]=1000) and in accordance with an

 overall CAS latency of the memory module. See, e.g., JEDEC 82-32A Data Buffer Standard

 (Exhibit 7), at 12, 14:




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 The overall CAS latency of the memory module may be expressed as shown below in the following

 equations:




 JEDEC 82-31A RCD Standard (Exhibit 9), at 15.

        47.    The data transfers through the circuitry (e.g., DDR4 data buffer) are registered for

 an amount of time delay such that the overall CAS latency of the memory module is greater than

 an actual operational CAS latency of each of the memory devices. As an example, the overall

 CAS latency of the memory module may be expressed as shown below.




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 See, e.g., 82-32A Data Buffer Standard (Exhibit 7), at 11-12:




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        48.      On information and belief, Samsung also indirectly infringes the ’417 patent, as

 provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Samsung’s customers

 and end users, in this District and elsewhere in the United States. For example, on information

 and belief, Samsung has induced, and currently induces, the infringement of the ’417 patent

 through its affirmative acts of selling, offering to sell, distributing, and/or otherwise making

 available the accused DDR4 LRDIMM products and other materially similar products that infringe

 the ’417 patent.    On information and belief, Samsung provides specifications, datasheets,

 instruction manuals, and/or other materials that encourage and facilitate infringing use of the

 accused DDR4 LRDIMM products and other materially similar products by users in a manner that

 it knows or should have known would result in infringement and with the intent of inducing

 infringement.

        49.      On information and belief, Samsung also indirectly infringes the ’417 patent, as

 provided in 35 U.S.C. § 271(c), contributing to direct infringement committed by others, such as

 customers and end users, in this District and elsewhere in the United States. For example, on

 information and belief, Samsung has contributed to, and currently contributes to, Samsung’s

 customers and end-users infringement of the ’417 patent through its affirmative acts of selling and

 offering to sell, in this District and elsewhere in the United States, the accused DDR4 LRDIMM

 products and other materially similar products that infringe the ’417 patent. On information and

 belief, the accused DDR4 LRDIMM and other materially similar products have no substantial

 noninfringing use, and constitute a material part of the patented invention. On information and

 belief, Samsung is aware that the product or process that includes the accused DDR4 LRDIMM

 products and other materially similar products would be covered by one or more claims of the ’417

 patent. On information and belief, the use of the product or process that includes the accused

 DDR4 LRDIMM products infringes at least one claim of the ’417 patent.



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           50.   Samsung’s infringement of the ’417 patent has damaged and will continue to

 damage Netlist. Samsung has had actual notice of the application that issued as the ’417 patent

 since at least August 2, 2021. Samsung’s infringement of the ’417 patent has been continuing and

 willful. Samsung continues to commit acts of infringement despite a high likelihood that its

 actions constitute infringement, and Samsung knew or should have known that its actions

 constituted an unjustifiably high risk of infringement.

 VI.       THIRD CLAIM FOR RELIEF – ’215 PATENT

           51.   Netlist re-alleges and incorporates by reference the allegations of the preceding

 paragraphs of this First Amended Complaint as if fully set forth herein.

           52.   On information and belief, Defendants directly infringed and are currently

 infringing at least one claim of the ’215 patent by, among other things, making, using, selling,

 offering to sell, and/or importing within this District and elsewhere in the United States, without

 authority, the accused DDR4 LRDIMMs and other products with materially the same structures in

 relevant parts. For example and as shown below, the accused DDR4 LRDIMMs and other

 products with materially the same structures in relevant parts infringe at least claim 1 of the ’215

 patent.

           53.   For example, to the extent the preamble is limiting, the accused DDR4 LRDIMMs

 comprise a memory module operable in a computer system to communicate data with a memory

 controller of the computer system via a memory bus in response to memory commands received

 from the memory controller.




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 (Depiction of an exemplary Samsung DDR4 LRDIMM advertised on its website, available at

 https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/ (last accessed

 August 13, 2022)).




 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 10.




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 Id. at 6.




 Id. at 11-12.


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        54.     The memory commands may include a first memory command and a subsequent

 second memory command, where the first memory command causes the memory module to

 receive or output a first data burst, and the second memory command causes the memory module

 to receive or output a second data burst, for example, as illustrated in the exemplary waveform and

 timing diagrams below.




 JEDEC DDR4 SDRAM Standard 79-4C (Exhibit 8), at 105; see also, e.g., id., §§ 4.24-4.25

 (waveform and timing diagrams for JEDEC-standardized read and write operations).

        55.     The accused DDR4 LRDIMMs each include a PCB having a plurality of edge

 connections configured to be electrically coupled to a corresponding plurality of contacts of a

 module slot of the computer system, and a register coupled to the PCB.




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 (Annotated depiction of an exemplary Samsung DDR4 LRDIMM advertised on its website,

 available at https://semiconductor.samsung.com/dram/module/lrdimm/m386a8k40bm1-crc/ (last

 accessed August 13, 2022)). See also, Exhibit 4 (Samsung Module Handling Guide depicting

 plurality of edge connections configured to be electrically coupled to a corresponding plurality of

 contacts of a module slot of the computer system):




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 See also, e.g., (datasheet for M386A8K40BM1-CRC) Exhibit 6 at 40:




        56.    The register of each of the accused DDR4 LRDIMMs is configured to receive and

 buffer first command and address signals representing the first memory command, and to receive

 and buffer second command and address signals representing the second memory command.




                                             - 36 -
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 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 7 (input/output functional description for

 Samsung DDR4 LRDIMMs, including command and address signals representing memory

 commands); see also, e.g., JEDEC DDR4 SDRAM Standard 79-4C (Exhibit 8), at 29 (Command

 Truth Table providing command and address signals associated with memory commands).


                                           - 37 -
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 Id. at 10 (illustrating register receiving and buffering first command and address signals

 representing the first memory command and second command and address signals representing

 the second memory command).




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        57.     The accused DDR4 LRDIMMs each include a plurality of memory integrated

 circuits (e.g., SDRAMs, highlighted in blue below) mounted on the PCB and arranged in a plurality

 of ranks including a first rank and a second rank. The plurality of memory integrated circuits

 include at least one first memory integrated circuit in the first rank and at least one second memory

 integrated circuit in the second rank.




 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 11-12.




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 Id. at 40.

         58.    As demonstrated in the exemplary waveform and timing diagram below, a first rank

 is selected to receive or output the first data burst in response to the first memory command, which

 is associated with a first chip-select signal, and is not selected to communicate data with the

 memory controller in response to the second memory command. Similarly, the second rank is

 selected to receive or output the second data burst in response to the second memory command,

 which is associated with a second chip-select signal, and is not selected to communicate data with

 the memory controller in response to the first memory command.




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 JEDEC DDR4 SDRAM Standard 79-4C (Exhibit 8), at 105; see also, e.g., id., §§ 4.24-4.25

 (waveform and timing diagrams for JEDEC-standardized read and write operations); see also, e.g.,

 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 7 (“CS_n provides for external Rank selection

 on systems with multiple Ranks.”); JESD 82-31A (Exhibit 9), at 2-3 (detailing the three basic

 modes of operation of the DDR4 RCD).

        59.    The accused DDR4 LRDIMMs further comprise a buffer (e.g. DDR4 data buffer)

 coupled between the at least one first memory integrated circuit and the memory bus, and between

 the at least one second memory integrated circuit and the memory bus.




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 Exhibit 6 (datasheet for M386A8K40BM1-CRC) at 11-12.




 JEDEC 82-32A Data Buffer Standard (Exhibit 7), at 95 (exemplary logic diagram of DDR4 data

 buffer circuitry).


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        60.     As shown above and below, the buffer in each of the accused DDR4 LRDIMMs

 includes logic coupled to the buffer that is configured to respond to the first memory command by

 providing first control signals to the buffer to enable communication of the first data burst between

 the at least one first memory integrated circuit and the memory controller through the buffer. The

 logic is further configured to respond to the second memory command by providing second control

 signals to the buffer to enable communication of the second data burst between the at least one

 second memory integrated circuit and the memory controller through the buffer, the second control

 signals being different from the first control signals.




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 JEDEC 82-32A Data Buffer Standard (Exhibit 7), at 3-4.




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 Id. at 12, 14.

         61.      On information and belief, Samsung also indirectly infringes the ’215 patent, as

 provided in 35 U.S.C. § 271(b), by inducing infringement by others, such as Samsung’s customers

 and end users, in this District and elsewhere in the United States. For example, on information

 and belief, Samsung has induced, and currently induces, the infringement of the ’215 patent

 through its affirmative acts of selling, offering to sell, distributing, and/or otherwise making

 available the accused DDR4 LRDIMM products and other materially similar products that infringe

 the ’215 patent.     On information and belief, Samsung provides specifications, datasheets,

 instruction manuals, and/or other materials that encourage and facilitate infringing use of the

 accused DDR4 LRDIMM products and other materially similar products by users in a manner that

 it knows or should have known would result in infringement and with the intent of inducing

 infringement.

         62.      On information and belief, Samsung also indirectly infringes the ’215 patent, as

 provided in 35 U.S.C. § 271(c), contributing to direct infringement committed by others, such as



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 customers and end users, in this District and elsewhere in the United States. For example, on

 information and belief, Samsung has contributed to, and currently contributes to, Samsung’s

 customers and end-users infringement of the ’215 patent through its affirmative acts of selling and

 offering to sell, in this District and elsewhere in the United States, the accused DDR4 LRDIMM

 products and other materially similar products that infringe the ’215 patent. On information and

 belief, the accused DDR4 LRDIMM and other materially similar products have no substantial

 noninfringing use, and constitute a material part of the patented invention. On information and

 belief, Samsung is aware that the product or process that includes the accused DDR4 LRDIMM

 products and other materially similar products would be covered by one or more claims of the ’215

 patent. On information and belief, the use of the product or process that includes the accused

 DDR4 LRDIMM products infringes at least one claim of the ’215 patent.

         63.     Samsung’s infringement of the ’215 patent has damaged and will continue to

 damage Netlist. Samsung has had actual notice of the ’215 patent since at least August 2, 2021.

 Samsung’s infringement of the ’215 patent has been continuing and willful. Samsung continues

 to commit acts of infringement despite a high likelihood that its actions constitute infringement,

 and Samsung knew or should have known that its actions constituted an unjustifiably high risk of

 infringement.

 VII.    DEMAND FOR JURY TRIAL

         64.     Pursuant to Federal Rule of Civil Procedure 38(b), Netlist hereby demands a trial

 by jury on all issues triable to a jury.

 VIII. PRAYER FOR RELIEF

         WHEREFORE, Netlist respectfully requests that this Court enter judgment in its favor

 ordering, finding, declaring, and/or awarding Netlist relief as follows:

         A.      that Samsung infringes the Patent-in-Suit;



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        B.       all equitable relief the Court deems just and proper as a result of Samsung’s

 infringement;

        C.       an award of damages resulting from Samsung’s acts of infringement in accordance

 with 35 U.S.C. § 284;

        D.       that Samsung’s infringement of the Patents-in-Suit is willful;

        E.       enhanced damages pursuant to 35 U.S.C. § 284;

        F.       that this is an exceptional case and awarding Netlist its reasonable attorneys’ fees

 pursuant to 35 U.S.C. § 285;

        G.       an accounting for acts of infringement and supplemental damages, without

 limitation, prejudgment and post-judgment interest; and

        H.       such other equitable relief which may be requested and to which Netlist is entitled.




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 Dated: August 15, 2022                 Respectfully submitted,

                                        /s/ Jason Sheasby


                                        Samuel F. Baxter
                                        Texas State Bar No. 01938000
                                        sbaxter@mckoolsmith.com
                                        Jennifer L. Truelove
                                        Texas State Bar No. 24012906
                                        jtruelove@mckoolsmith.com
                                        MCKOOL SMITH, P.C.
                                        104 East Houston Street Suite 300
                                        Marshall, TX 75670
                                        Telephone: (903) 923-9000
                                        Facsimile: (903) 923-9099

                                        Jason G. Sheasby (pro hac vice forthcoming)
                                        jsheasby@irell.com
                                        Annita Zhong, PhD (pro hac vice forthcoming)
                                        hzhong@irell.com
                                        Thomas C. Werner (pro hac vice forthcoming)
                                        twerner@irell.com
                                        Yanan Zhao (pro hac vice forthcoming)
                                        yzhao@irell.com
                                        Michael W. Tezyan (pro hac vice forthcoming)
                                        mtezyan@irell.com

                                        IRELL & MANELLA LLP
                                        1800 Avenue of the Stars, Suite 900
                                        Los Angeles, CA 90067
                                        Tel. (310) 277-1010
                                        Fax (310) 203-7199


                                        Attorneys for Plaintiff Netlist, Inc.




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